                    IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA,

                   Plaintiff;

           v.

TERRY S. JOHNSON, in his                  1:12-cv-1349
official capacity as Alamance
County Sheriff,
                   Defendant.



                                  ORDER

     This matter is before the court on the Motion to Stay filed

by the United States of America.           (Doc. 37.)     The motion is

opposed.    (Doc. 43.)

     Based on the representations to the court, the court finds

that a failure to grant the stay would moot the relief sought by

the United States even if it were to prevail on the merits.

     IT IS THEREFORE ORDERED that the motion to stay is GRANTED

to allow sufficient time for the court to consider the merits of

the Motion for Reconsideration (Doc. 36) filed by the United

States.



                                     /s/   Thomas D. Schroeder
                                  United States District Judge

October 10, 2013




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